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1    AHILAN T. ARULANANTHAM (SBN 237841)
     aarulanantham@aclu-sc.org
2    MICHAEL KAUFMAN (SBN 254575)
     mkaufman@aclu-sc.org
3    ACLU FOUNDATION OF SOUTHERN CALIFORNIA
     1313 West Eighth Street
4    Los Angeles, CA 90017
     Telephone: (213) 977-9500
5    Facsimile: (213) 977-5297
6    Attorneys for Petitioners
     (Additional Counsel listed on following page)
7
8
                            UNITED STATES DISTRICT COURT
9
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                                   WESTERN DIVISION
11
     ALEJANDRO RODRIGUEZ,                     )   Case No. CV-07-3239-TJH (RNBx)
12   ABDIRIZAK ADEN FARAH,                    )
     YUSSUF ABDIKADIR, ABEL PEREZ             )
13   RUELAS, JOSE FARIAS CORNEJO,             )   DECLARATION OF BYRON
     ANGEL ARMANDO AYALA, for                 )   MERIDA
14   themselves and on behalf of a class of   )
     similarly-situated individuals,          )   Honorable Terry J. Hatter
15                                            )
                 Petitioners,                 )   Date: May 6, 2013
16                                            )   Time: Under Submission
                 v.                           )
17                                            )
     ERIC HOLDER, United States Attorney      )
18   General; JANET NAPOLITANO,               )
     Secretary, Homeland Security;            )
19   THOMAS G. SNOW, Acting Director,         )
     Executive Office for Immigration         )
20   Review; TIMOTHY ROBBINS, Field           )
     Office Director, Los Angeles District    )
21   Immigration and Customs Enforcement;     )
     WESLEY LEE, Officer-in-Charge, Mira      )
22   Loma Detention Center; et al.;           )
     RODNEY PENNER, Captain, Mira             )
23   Loma Detention Center; SANDRA            )
     HUTCHENS, Sheriff of Orange County;      )
24   OFFICER NGUYEN, Officer-in-              )
     Charge, Theo Lacy Facility; CAPTAIN      )
25   DAVIS NIGHSWONGER, Commander,            )
     Theo Lacy Facility; CAPTAIN MIKE         )
26   KREUGER, Operations Manager, James       )
     A. Musick Facility; ARTHUR               )
27   EDWARDS, Officer-in-Charge, Santa        )
     Ana City Jail; RUSSELL DAVIS, Jail       )
28   Administrator, Santa Ana City Jail,      )


                                DECLARATION OF BYRON MERIDA
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